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  Via E-Filing

  September 20, 2024

  Honorable Rukhsanah L. Singh, U.S. Magistrate Judge
  United States District Court- District of NJ
  Clarkson S. Fisher Building & U.S. Courthouse
  402 East State Street, Court Room 7W
  Trenton, NJ 08608

  Re: In re: Johnson & Johnson Talcum Powder Products
      Marketing, Sales Practices and Products Liability Litigation -
      MDL 2738

  Dear Judge Singh:
       The Johnson & Johnson Defendants write to inform Your Honor that earlier
  today, by the attached Order, the Honorable Thomas W. Sumners, Jr., Chief
  Judge of the New Jersey Superior Court, Appellate Division, granted
  Defendants’ Motion for Leave to File an Interlocutory Appeal of the Trial Court’s
  July 19, 2024 Opinion and Order in connection with Defendants’ Motion to
  Disqualify Beasley Allen. Defendants will continue to update Your Honor of the
  status of the appeal.

           Thank you for your consideration of these matters.
                                            Respectfully,

                                            /s/ Susan M. Sharko
                                            Susan M. Sharko
                                            FAEGRE DRINKER BIDDLE & REATH LLP

                                           Attorneys for Defendants
                                           Johnson & Johnson and
                                           LLT Management, LLC
 SMS/scg
 Hon. 3:16-md-02738-MAS-RLS
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 Cc: Leigh O’Dell (via e-mail)
     Michelle Parfitt (via e-mail)
 Encl: (1)
    Case
FILED, Clerk3:16-md-02738-MAS-RLS                 Document
             of the Appellate Division, September 20,           33292 M-006702-23
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                                             ORDER ON MOTION
                                                ---------------

                                                       SUPERIOR COURT OF NEW JERSEY
                                                       APPELLATE DIVISION
                                                       DOCKET NO.: AM-000635-23T1
IN RE TALC BASED POWDER                                MOTION NO.: M-006702-23
PRODUCTS LITIGATION                                    BEFORE:     PART F
                                                       JUDGE(S):   THOMAS W. SUMNERS JR.
                                                                   LISA PEREZ-FRISCIA

MOTION FILED: 08/08/2024                                  BY: JOHNSON & JOHNSON AND LLT
                                                              MANAGEMENT, LLC
ANSWER(S)                08/19/2024                       BY: BEASLEY ALLEN LAW FIRM
FILED:

SUBMITTED TO COURT:                    September 19, 2024

                                     ORDER
                                       -----
     THIS MATTER HAVING BEEN DULY PRESENTED TO THE COURT, IT IS, ON
THIS 20th day of September, 2024, HEREBY ORDERED AS FOLLOWS:

MOTION BY APPELLANT

MOTION FOR LEAVE TO APPEAL                              GRANTED

SUPPLEMENTAL:

       The parties shall advise the Clerk's Office in writing within five days from the date
of this order if they wish to rely on their motion briefs as their merits' briefs. Absent the
consent of both parties to do so, the Clerk's Office will issue a scheduling order for the
submission of merits briefs. These dates are peremptory.

                                                  FOR THE COURT:



                                                  THOMAS W. SUMNERS JR., C.J.A.D.

ATL-L-2648-15 ATLANTIC
ORDER - REGULAR MOTION
KLK
